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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY


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                                                Chapter 11

  In re:                                        Case No.: 21-30589(MBK)

  LTL MANAGEMENT, LLC,                          Honorable Michael B. Kaplan

                               Debtor.



  LTL MANAGEMENT LLC,                            Adv. Pro. No. 21-03032 (MBK)


                               Plaintiff,

           v.


  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT
  and JOHN AND JANE
  DOES 1-1000,

                               Defendants.


   NOTICE OF MOTION OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS’
             MOTION FOR WITHDRAWAL OF THE REFERENCE
              OF ADVERSARY PROCEEDING NO. 21-03032 (MBK)
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 TO: All Parties-in-Interest

        PLEASE TAKE NOTICE that the Official Committee of Talc Claimants (the
 “Committee”) appointed in the above-referenced chapter 11 case (the “Case”), and party to the
 above referenced adversary proceeding, Adv. Pro. No. 21-03032 (MBK) (the “Adversary
 Proceeding”) by virtue of the so ordered stipulation entered November 24, 2021 [Adv. Pro. Dkt.
 No. 109], by and through their proposed undersigned counsel, hereby respectfully moves the
 United States District Court for the District of New Jersey (the “Court”) for entry of an order
 withdrawing the Adversary Proceeding to the United States Bankruptcy Court for the District of
 New Jersey (the “Bankruptcy Court”), pursuant to 28 U.S.C. § 157(d), Fed. R. Bankr. P. 5011, and
 D.N.J. LBR 5011-1 (the “Motion”); and

          PLEASE TAKE FURTHER NOTICE that the Motion is being filed pursuant to D.N.J.
 LBR 5011-1, which provides that “[a] motion for withdrawal of the reference . . . shall be filed in
 the bankruptcy court,” but that “[a]ll such motions are then to be immediately transmitted to the
 district court”; and

        PLEASE TAKE FURTHER NOTICE that the Motion will be returnable before the
 Court on December 20, 2021; and

         PLEASE TAKE FURTHER NOTICE that the Committee hereby requests oral argument
 if the Motion is opposed.

                                                      Respectfully submitted,

 Dated: November 24, 2021                             By: /s/ Daniel M. Stolz
                                                           Angelo J. Genova, Esq.
                                                           Daniel M. Stolz, Esq.
                                                           Donald W. Clarke, Esq.
                                                           Matthew I.W. Baker, Esq.
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                                                      Committee of Talc Claimants
